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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HELEEN MEES,                                               NOTICE OF JOINT
                                                            MOTION TO DISMISS
                                 Plaintiff,
                                                            19 Civ. 7346 (AJN)(KNF)
                     -against-

 CITY OF NEW YORK, MANHATTAN
 DISTRICT ATTORNEY’S OFFICE, CYRUS
 VANCE, JR., NITIN SAVUR, JEANINE
 LAUNAY, SAMANTHA SCHOTT,

                                 Defendants.


       PLEASE TAKE NOTICE that upon the annexed Declaration of Assistant District

Attorney Elizabeth N. Krasnow dated November 14, 2019, the exhibits listed therein, the

accompanying memorandum of law, and all prior pleadings and proceedings herein, defendants

City of New York, the New York County District Attorney’s Office, District Attorney Cyrus R.

Vance, Jr., and Assistant District Attorneys Nitin Savur, Jeanine Launay, and Samantha Schott

will jointly move this Court before the Honorable Alison J. Nathan, United States District Judge,

at the United States Courthouse for the Southern District of New York, located at 40 Foley

Square, New York, New York, on a date to be determined by the Court, for an Order pursuant

to Federal Rule of Civil Procedure 12(b)(1) and (b)(6) dismissing the complaint, with prejudice,

as well as for any further relief the Court may deem just and proper.




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       PLEASE TAKE FURTHER NOTICE that the briefing schedule endorsed by the

Court on October 25, 2019, see ECF 17, requires that plaintiff file any opposition papers by

January 10, 2020 and that defendants file any reply papers by January 24, 2019.

Dated: New York, New York
       November 14, 2019

                                           CYRUS R. VANCE, JR.
                                           District Attorney of New York County
                                           One Hogan Place
                                           New York, New York 10013
                                           (212) 335-9000
                                           Counsel for the DA defendants

                                           By:    Elizabeth N. Krasnow /s
                                                  Elizabeth N. Krasnow
                                                  Assistant District Attorney


                                           JAMES E. JOHNSON
                                           Corporation Counsel of the City of New York
                                           100 Church Street
                                           New York, New York 10007
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                                           Counsel for the defendant City of New York

                                           By:    Genevieve Nelson /s
                                                  Genevieve Nelson
                                                  Assistant Corporation Counsel




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